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             IN THE UNITED STATES DISTRICT COURT FOR
                  THE EASTERN DISTRICT OF MICHIGAN


MALIBU MEDIA, LLC,                     )
                                       )
         Plaintiff,                    )
                                       )
v                                      ) Case No. 2:18-cv-13910-TGB-MKM
                                       ) Hon. Terrence G. Berg
                                       ) Magistrate Judge
BILL KARWOSKI,                         )
                                       )
        Defendant.                     )



    DEFENDANT’S RESPONSE TO PLAINTIFF’S MOTION TO STRIKE
     DEFENDANT’S AFFIRMATIVE DEFENSES AND RESPONSE IN
      OPPOSITION TO DEFENDANT’S REQUEST FOR DISMISSAL
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                                  INTRODUCTION

      Plaintiff’s Amended Complaint alleges that Defendant infringed Plaintiff’s

purported Copyrights in Violation of the United States Copyright Act of 1976, 17

USC §101 et seq. Defendant filed an Answer and various Affirmative Defenses

relating directly to Plaintiff’s alleged claims.

      With the exception of Affirmative Defenses Nos. 7, 10-12, which Plaintiff

voluntarily agrees to dismiss, Plaintiff’s instant Motion to Strike is a knee jerk

“stock” reaction to Defendant’s Affirmative Defenses and should be denied

because it is not supported by law or fact.

                                LEGAL STANDARD

      A Motion to Strike is a “drastic remedy” and should be granted “only when

the pleading to be stricken has no possible relation to the controversy”. Brown &

Williamson Tobacco Corp. v United States, 201 F.2d 819, 822 (6th Cir. 1953),

hemlock Semiconductor Corp. v Deutsch Solar Gmblt, 116 F. Supp. 3d 818, 823

(E.D. Mich 2015); See also, Brown v Specialized Loan Servicing LLC v

Computershare USA, Case No. 17-CV-10163, Report and Recommendation of

Magistrate Judge Majzoub, 4/15/2018, United States District Court for the Eastern

District of Michigan (copy at Ex. 1). Under Fed. R. Civ. P Rules 12(F), the motion

should be granted only were “as a matter of law, the defense cannot succeed under
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any circumstances”. Ameriwood Indus. Int’ Corp. v Arthur Anderson & Co. 961

F. Supp 1078, 1083 (W.D. Mich. 1997).

       Fed R. Civ. P. Rule 8 provides that “each allegation [in a pleading] must be

simple, concise and direct” and that no “technical form is required”. See, Brown,

supra at p. 3.

       Although the Sixth Circuit Court of Appeals has not yet ruled on the level of

specificity required when asserting an affirmative defense, this Court has applied

the “fair notice” pleading standard. See, Myers v Village of Oxford, Case No. 17-

cv-10623, Judge Denise Page Hood (E.D. Mich. February 15, 2019) (copy at Ex.

2); Exclusively Cats Veterinary Hosp., P.C. v Pharm Credit Corp., No. 13-cv-

14376, 2014 WL 4715532 (E.D. Mich. Sept 22, 2014). Under the “fair notice”

standard, a defense may be pleaded in general terms as long as it provides fair

notice of the nature of the defense. Meijers, supra, citing Lawrence v Chabot, 182

Fed. Appx 442, 456-57, (6th Cir. 2006).

                                     ARGUMENT

       A.        Defendant’s First Affirmative Defense (Failure to State a Claim)

       In the absence of discovery, Defendant has no means of verifying whether

Plaintiff in fact has a valid copyright.       Although Plaintiff claims it “owns

certificates of registration” in its Motion (Plaintiff’s Motion, p. 5) no proof of same
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is included in either its Amended Complaint or its Motion. Further, Defendant

denies having infringed on any such copyright. Thus, assuming Plaintiff in fact

does not have a valid copyright, or otherwise cannot prove the alleged

infringement, Plaintiff would fail to state a claim.

      Defendant’s First Affirmative Defense thus gives Plaintiff fair notice and is

otherwise related to the controversy.

      B.     Defendant’s Second Affirmative Defense (Failure to Comply with
             Copyrights Act)

      Plaintiff’s compliance with the Copyright Act is a prerequisite for having a

valid copyright, and Plaintiff must have a valid copyright to maintain the instant

Amended Complaint. Although Plaintiff is correct in noting that the Copyright Act

is “hundred of pages”, only a few of those pages deal with Plaintiff’s compliance

obligations. Discovery on that issue will not be burdensome.

      Defendant’s Second Affirmative Defense thus gives Plaintiff fair notice and

is otherwise related to the controversy.

      C.     Defendant’s Third Affirmative Defense (Invalid Copyright)

      Defendant’s Third Affirmative Defense is similar to its First and Second

Defenses - - without a chance for discovery, Defendant has no means of discerning




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whether Plaintiff’s purported Copyright is valid - - an issue certainly relevant to

Plaintiff’s capacity to bring this Amended Complaint.

      Defendant’s Third Affirmative Defense thus gives Plaintiff fair notice and is

otherwise related to the controversy.

      D.     Defendant’s Fourth Affirmative Defense (No Infringement)

      Defendant’s Fourth Affirmative Defense alerts Plaintiff to Defendant’s

factual assertion that he committed no act in violation or infringement of Plaintiff’s

purported copyright. This is clearly “fair notice” of how Defendant intends to

defend Plaintiff’s claims.

      Defendant’s FourthAffirmative Defense thus gives Plaintiff fair notice and is

otherwise related to the controversy.

      E.     Defendant’s Fifth Affirmative Defense (Third Party Liability)

      It is Defendant’s position that to the extent Plaintiff can prove Defendant

was the registered owner of an IP address where Plaintiff’s validly copyrighted

material was copied and distributed, that such actions were not done by Defendant

and must have been by a third party with access to the IP address. Alleging Third

Party Liability clearly puts Plaintiff on notice of this defense.

      Defendant’s Fifth Affirmative Defense thus gives Plaintiff fair notice and is

otherwise related to the controversy.
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      F.     Defendant’s Sixth Affirmative Defense (Authorized Use)

      As Plaintiff admits, a party may obtain implied authorization to utilize

copyrighted material due to the conduct of the copyright holder. (See Plaintiff’s

Motion, pp 9-10). This is clearly a plausible potential defense related to Plaintiff’s

cause of action.

      Defendant’s Sixth Affirmative Defense thus gives Plaintiff fair notice and is

otherwise related to the controversy.

      G.     Defendant’s Seventh Affirmative Defense (Fair Use)

      Defendant concedes that the affirmative defense of “Fair Use” is not

applicable in this matter.

      H.     Defendant’s Eighth Affirmative Defense (Innocent Infringement)

      Plaintiff admits that Defendant being an “innocent infringer” may reduce

Plaintiff’s claim for damages.      Since damages is clearly part of Plaintiff’s

Amended Complaint, the defense of “Innocent Infringement” is directly relevant to

Plaintiff’s claims. Further, Plaintiff’s assertion that the defense is “vague and

ambiguous” is nonsensical - - the defense clearly gives fair notice to Plaintiff that

assuming Plaintiff can prove Defendant in fact violated Plaintiff’s copyright, such

violation was innocent.



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      Defendant’s Eighth Affirmative Defense thus gives Plaintiff fair notice and

is otherwise related to the controversy.

      I.     Defendant’s Ninth Affirmative Defense (Deceptive Advertising)

      Plaintiff is well aware, or should be of the advertising it generates for its

downloadable materials. To the extent said advertising is deceptive, particularly as

to downloading same, Defendant has provided Plaintiff with fair notice of a

potential defense.

      Defendant’s Ninth Affirmative Defense thus gives Plaintiff fair notice and is

otherwise related to the controversy.

      J.     Defendant’s Tenth, Eleventh and Twelfth Affirmative Defense
             (Waiver, Laches and Statute of Limitations)

      Defendant concedes that his Tenth, Eleventh and Twelfth Affirmative

Defenses are not applicable in this matter.

      K.     Defendant’s Reservation of Right

      Defendant understands that should discovery give rise to facts supporting

another affirmative defense, the proper method for raising same would be a Motion

to Amend. Defendant’s Thirteenth Affirmative Defense merely reserves the right

to file such a Motion.




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                                   CONCLUSION

      For the above stated reasons, Plaintiff’s Motion to Strike should be denied as

to Affirmative Defenses Nos. 1-6, 8-9, 13.

                                        Respectfully submitted,

                                        The Law Office of Bryan Monaghan


Dated: July 2, 2019                     /s/ Bryan Monaghan
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                       LOCAL RULE CERTIFICATION

      I, Bryan Monaghan, certify that this document complies with Local Rule

5.1(a), including: double-spaced (except for quoted materials and footnotes); at

least one-inch margins on the top, sides, and bottom; consecutive page numbering;

and type size of all text and footnotes that is no smaller than 10-1/2 characters per

inch (for non-proportional fonts) or 14 point (for proportional fonts). I also certify

that it is the appropriate length. Local Rule 7.1(d)(3).


Dated: July 2, 2019                     /s/ Bryan Monaghan
                                        By: Bryan Monaghan (P-42461)
                                           7
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                         CERTIFICATE OF SERVICE

      I hereby certify that on July 2, 2019, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF and that service was

perfected on all counsel of record and interested parties through this system.

                                /s/ Sandra G. Brookins
                                By: Sandra G. Brookins




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